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EXHIBIT J
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00°8r0‘0TS 6 vz WLOL
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00°8ZZS OT SIOUPIsD Oend

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pue s8uljaa|\
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Jo uolsafay 7g UOIWdUNSssY
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Jadaayauny Aq je}0L

 

‘AUVIAIAING 334 S-T HOYVIN/ANWNYS WLOL

 
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JLVG Ad AYVINIAINS AWIL

 
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juawAo|dwy/ae4

 

 

 

 

 

 

 

 
| 24.9] $10,048.00]

[TOTAL

 

 

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LANVE ‘DISINAGOMIN

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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JLVG Ad AYVINIAINS JINIL

 
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JLVG Ad AYVINIAINS JIL

 
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